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Case 3:14-cv-01189 Document 253-1 Filed 01/31/18 Page 22 of 27 PageID #: 11675
Case 3:14-cv-01189 Document 253-1 Filed 01/31/18 Page 23 of 27 PageID #: 11676
Case 3:14-cv-01189 Document 253-1 Filed 01/31/18 Page 24 of 27 PageID #: 11677
        THE FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS HAS

BEEN READ AND FULLY UNDERSTOOD BEFORE THE SIGNING OF THIS

AGREEMENT.

                                           _______________________________________
                                           April White



Dated this31st         January
          ____ day of____________________, 2018.


        THE FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS HAS

BEEN READ AND FULLY UNDERSTOOD BEFORE THE SIGNING OF THIS

AGREEMENT.

                                           _______________________________________
                                           Bruce Bogach



Dated this ____ day of____________________, 2018.




        THE FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS HAS

BEEN READ AND FULLY UNDERSTOOD BEFORE THE SIGNING OF THIS

AGREEMENT.

                                        Publix Super Markets, Inc.


Date:                                    By:

                                         Printed Name:

                                         Title:




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        THE FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS HAS

BEEN READ AND FULLY UNDERSTOOD BEFORE THE SIGNING OF THIS

AGREEMENT.

                                           _______________________________________
                                           April White

          31st        January

Dated this ____ day of____________________, 2018.


        THE FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS HAS

BEEN READ AND FULLY UNDERSTOOD BEFORE THE SIGNING OF THIS

AGREEMENT.

                                           _______________________________________
                                           Bruce Bogach



Dated this ____ day of____________________, 2018.




        THE FOREGOING SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS HAS

BEEN READ AND FULLY UNDERSTOOD BEFORE THE SIGNING OF THIS

AGREEMENT.

                                        Publix Super Markets, Inc.


Date:                                    By:

                                         Printed Name:

                                         Title:




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                                SCHEDULE A

 Anderson, Shawneen                    Louis, Chenita
 Bannerman, Jacqueline                 Malone, Maurice
 Bernier, Dawn                         Mattatall, Theresa
 Bowers, Shaquesta                     Menendez, Benjamin
 Brock, Gary                           Messer, Janet
 Brock, Melissa                        Ogundiya, Abimbola
 Camejo, Martha                        Papantonio, Ginette
 Dobbs, Jean Marie                     Pierrelus, William
 Donley, Alice                         Ponder, Sonya L.
 Ealy, Cathie                          Punch, Michelle
 Eddins, Patricia                      Rodriguez, Julio I.
 Foehl, Sherry                         Stringer, Aliesha
 Ford, Erma                            Taylor, Graham
 Gould, Aerion                         Uber, Kyle
 Hallmon, Kinte                        Vega, Flor
 Haynes, Cynthia                       Veltman, George
 Johnson, Patricia                     Walsh, Connie Francis
 Lewis, Wanda                          Wichrowski Jr., Alphonse
 Lorente, Lazaro




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